                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:20-CV-00258-FL

CAROL TARRANT,                          )
                                        )
                    Plaintiff,          )
                                        )
                    v.                  )             ORDER FOR PAYMENT OF
                                        )             ATTORNEY FEES UNDER
KILOLO KIJAKAZI,1                       )             THE EQUAL ACCESS TO JUSTICE ACT
Acting Commissioner of Social Security, )
                                        )
                    Defendant.          )
___________________________________ )

       Upon stipulation and agreement of the parties, it is ORDERED that Defendant pay to

Plaintiff $4,500.00, in full satisfaction of any and all claims arising under the Equal Access to

Justice Act, 28 U.S.C. § 2412. If the award to Plaintiff is not subject to the Treasury Offset

Program, payment will be made by check payable to Plaintiff’s counsel, Vaughn S. Clauson, and

mailed to his office at The Clauson Law Firm, PLLC P.O. Box 110205, Durham, North Carolina

27709, in accordance with Plaintiff’s assignment to her attorney of her right to payment of

attorney’s fees under the Equal Access to Justice Act.

                        29th
       SO ORDERED this _________ day of October, 2021



                                              ________________________________
                                              LOUISE W. FLANAGAN
                                              UNITED STATES DISTRICT JUDGE




1
 On July 9, 2021, Kilolo Kijakazi became the Acting Commissioner of Social Security and is
automatically substituted as a party pursuant to Fed. R. Civ. P. 25(d). See also section 205(g) of
the Social Security Act, 42 USC 405(g)(action survives regardless of any change in the person
occupying the office of Commissioner of Social Security).


           Case 5:20-cv-00258-FL Document 35 Filed 10/29/21 Page 1 of 1
